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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


   UNITED STATES OF AMERICA,

                      Plaintiff,

   Vs.                                         Case No. 15-cr-20652
                                               Hon. George Caram Steeh

   (D-13) ARLANDIS SHY, II,

                  Defendant.
   _____________________________________________________________

             DEFENDANT (D-13) SHY’S MOTION FOR NEW TRIAL


         Defendant (D-13) Shy moves this Honorable Court for a new trial under

   Fed. R. Crim. P. 33.

                                   Respectfully submitted,

   Date: September 9, 2018

    By: s/Mark H. Magidson                 By: s/John T. Theis
    MARK H. MAGIDSON (P25581)              JOHN T. THEIS
    Attorney for Defendant Shy (D-13)      Attorney for Defendant Shy (D-13)
    815 Griswold, Suite 810                190 South LaSalle St., Suite 520
    Detroit, MI 48226                      Chicago, IL 60603
    313-963-4311                           (312) 782-1121
    313-995-9146 fax
    mmag100@aol.com




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                         BRIEF IN SUPPORT OF
             DEFENDANT (D-13) SHY’S MOTION FOR NEW TRIAL



                                          FACTS

         Defendant Shy was charged in the Sixth Superseding Indictment (Doc. 812)

   with the following counts:

      • Count 1 – racketeering conspiracy, 18 U.S.C. § 1962(d);

      • Count 16 – murder in aid of racketeering, 18 USC 1959(a)(1); as a principal

        or aider and abettor ,18 USC 2;

      • Count 17 – use of a firearm in furtherance of a crime of violence causing

        death, 18 USC 924(c); and 924(j); as a principal or aider and abettor, 18 USC

        2;

      • Counts 18 (victim MW), 19 (victim DR2), and 20 (victim JR) – attempted

        murder in aid of racketeering, 18 USC 1959(a)(5); as a principal or aider and

        abettor, 18 USC 2;

      • Counts 21 (victim MW), 22 (victim DR2), and 23 (victim JR) – assault with

        a dangerous weapon in aid of racketeering, 18 USC 1959(a)(3); as a principal

        or aider and abettor, 18 USC 2;

      • Count 24 – use and carry of a firearm during, and in relation to, a crime of

        violence, 18 USC 924(c); as a principal or aider and abettor, 18 USC 2; and,


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      • Count 32 – possession of a firearm in furtherance of a crime of violence, 18

         USC 924(c); as a principal or aider and abettor, 18 USC 2.



         After trial, the jury returned its verdict on August 27, 2018, and found Shy

   guilty of the RICO Conspiracy in count one, and they found him guilty of

   possessing a firearm in the furtherance of a crime of violence in count thirty-two.

   (Verdict, Doc. 1168, Pg ID 15268, 15272). The jury found Shy not guilty on all of

   the remaining counts.

         Shy was not guilty, as a principal or aider and abettor, of murdering Dvante

   Roberts, or attempting to murder Marquis Wicker, Darrio Roberts, or Jessie

   Ritchie. nor was Shy guilty, as a principal or aider and abettor, of murdering

   Dvante Roberts, or attempting to murder Marquis Wicker, Darrio Roberts, or

   Jessie Ritchie in aid of racketeering.

         Shy was found not guilty of using or carrying a firearm during and in

   relation to a crime of violence, or during a crime of violence causing death.

         However, the jury did find that between July 14, 2014 through September

   26, 2015, Shy conspired with another conspirator to assault rival gang members

   with intent to commit murder. Id. at 15269.




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                                      ARGUMENT


         Defendant Shy’s objection to the RICO jury instruction, raised in this

   motion, were addressed on the record at a status conference on August 13, 2018,

   where this Court denied Defendant Shy’s motion for a more specific instruction.

         Shy argues that the jury instruction question put to the jury was insufficient

   and inaccurate, violating his rights to due process and having the jury accurately

   instructed under the Fifth Amendment to the U.S. Constitution. The instruction

   was overbroad and vague, allowing the jury to find him guilty based on non-

   criminal conduct without identifying a specific fact, date, victim, location, or event

   that made him guilty for the RICO count but not guilty of the underlying

   substantive offenses. The inconsistency in the jury’s verdict supports a finding that

   the jury was confused, the instructions were inaccurate, and Shy was convicted on

   insufficient evidence.

         The jury was asked the following on the verdict form:

         COUNT ONE: RICO Conspiracy

               With respect to the RICO conspiracy charge in Count One, we, the
         jury unanimously find:

         ARLANDIS SHY               Not Guilty ______         Guilty __√___


               With respect to Count One, if you find ARLANDIS SHY not guilty of
         RICO Conspiracy, please skip to Page 3, there is no need to answer the three
         questions listed on the next page. If you find ARLANDIS SHY guilty of

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         RICO Conspiracy in Count One, please answer the three questions listed on
         the next page, then proceed to Page 3. Your verdict must be unanimous that
         the government has proven the proposition set forth in the questions below
         beyond a reasonable doubt:

                1.    Did defendant ARLANDIS SHY, between July 14,2014
                through September 26, 2015, conspire with another conspirator to
                assault rival gang members with intent to commit murder?
                                        No ______           Yes ____√____

         [Verdict, Doc. 1168, Pg ID 15268-15269.]


         As mentioned earlier, Shy was found not guilty of all of the remaining

   underlying substantive counts.

         “Upon the defendant's motion, the court may vacate any judgment and grant

   a new trial if the interest of justice so requires.” Fed. R. Crim. P. 33.

                A Motion for Acquittal and a Motion for New Trial based on the
         ground that the verdict is against the great weight of the evidence are
         governed by very different standards. The Motion for New Trial involves a
         much broader standard of review than a Motion for Acquittal. A verdict may
         well be against the great weight of the evidence, but, nevertheless, be
         substantial enough to permit reasonable jurors to draw an inference of guilt.
         In a Motion for New Trial, the trial judge can consider the credibility of the
         witnesses and the weight of the evidence to insure that there is not a
         miscarriage of justice. It has often been said that he/she sits as a thirteenth
         juror.

                Nevertheless, granting a Fed. R. Crim. P. 33 Motion for New Trial
         attacking the weight of the evidence is a discretionary matter. The Court
         should exercise such discretion only in the extraordinary circumstances
         where the evidence preponderates heavily against the verdict.

         [United States v. Ashworth, 836 F.2d 260, 265-66 (6th Cir. 1988)(quoting
         United States v. Turner, 490 F. Supp. 583 (E.D. Mich. 1979), aff'd, 633 F.2d


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         219 (6th Cir. 1980), cert. denied, 450 U.S. 912, 67 L. Ed. 2d 336, 101 S. Ct.
         1351 (1981)(citing 2 C. Wright & A. Miller, Federal Practice and Procedure
         § 553 at 487 & n. 31).]


         “It is fundamental Constitutional law that no one may be convicted of a

   crime absent proof beyond a reasonable doubt of every fact necessary to constitute

   that crime.” Glenn v. Dallman, 686 F.2d 418, 420-21 (6th Cir. 1982)(citing In re

   Winship, 397 U.S. 358, 25 L. Ed. 2d 368, 90 S. Ct. 1068 (1970)).

         In a jury trial, the court's instructions to the jury are the only means of

   assuring that the state is put to its burden of establishing every element of the

   crime. Glenn, 686 F.2d at 421. Even in habeas cases, the complete failure of a state

   court to instruct on an essential element of a crime must be an exception to the

   stringent bar to habeas relief. Id. An example of such a case is the Sixth Circuit

   Court of Appeals’ decision in Berrier v. Egeler, 583 F.2d 515 (1978), where a state

   trial judge's instructions failed to place the burden of proof of an essential element

   of a crime on the state. Glenn, 686 F.2d at 421. That failure was held to be plain

   error that could not be deemed harmless beyond a reasonable doubt. Berrier, 583

   F.2d at 522.

         Other courts of appeal have reached similar conclusions where federal trial

   courts failed to instruct on essential elements of federal crimes. Glenn, 686 F.2d at

   421. Those courts also noted that such errors are not made harmless merely

   because there is overwhelming evidence that the government carried its burden had

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   the jury been properly instructed. United States v. King, 521 F.2d 61, 63 (10th Cir.

   1975)(overruled on other grounds by United States v. Savaiano, 843 F.2d 1280,

   1294 (10th Cir. 1988); Merrill v. United States, 338 F.2d 763 (5th Cir. 1964).

         The failure to instruct a jury on an essential element is error because it

   deprives the defendant of the right "to have the jury told what crimes he is actually

   being tried for and what the essential elements of these crimes are." United States

   v. Natale, 526 F.2d 1160, 1167 (2nd Cir. 1975)(citing United States v. Fields, 466

   F.2d 119, 121 (2nd Cir. 1972)).

         In this case, the jury’s inconsistent verdict was evident in their finding that

   Shy was not guilty, as a principal or aider and abettor, of murder or attempted

   murder, but the jury did find him guilty for the RICO count because he was guilty

   for conspiring with another conspirator to assault rival gang members with intent

   to commit murder. (Verdict, Doc. 1168, Pg ID 15269).

         The jury also found Shy not guilty of using or carrying a firearm during and

   in relation to a crime of violence, or during a crime of violence causing death;

   however, the jury also found Shy guilty of possessing a firearm in the furtherance

   of a crime of violence in count thirty-two. Id. at 15272.

         The only explanation for that result is that the jury did not understand what

   elements the Government had to establish to find Shy guilty. They found shy not

   guilty of all of the substantive underlying counts; however, they somehow found


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   him guilty of possessing a firearm to further a crime of violence (which he was

   innocent of), and they found that he conspired to commit assault with intent to

   commit murder (even though he did not aid or abet anyone to commit assault with

   intent to murder or attempted murder).

         Defendant Shy raised this objection on the record at the status conference on

   August 13, 2018, but this Court overruled his objection. The resulting verdict

   shows the jury’s confusion and the inadequacy of the jury instruction and verdict

   form, which violated Shy’s Due Process rights under the Fifth Amendment to the

   U.S. Constitution. The instruction was objected to because it was over broad and

   vague. "A criminal statute is unconstitutionally vague where it fails to provide a

   person of ordinary intelligence fair notice of what is prohibited, or is so

   standardless that it authorizes or encourages seriously discriminatory

   enforcement." U.S. v. Hart, 635 F.3d 850 (6th Cir. 2011) (citing Holder v.

   Humanitarian Law Project, 561 U.S. 1, 130 S.Ct. 2705, 177 L. Ed. 2d 355 (2010)

         There was no requirement in the instructions or verdict form, as requested by

   Defendant Shy, that the jury identify exactly what acts supported the RICO

   conviction. What fact, incident, date of an incident, naming of a victim, or

   identification a location of an event did the instructions require? None. The

   instruction and verdict form could have allowed the jury to convict on protected

   speech that was published on Mr. Shy’s Facebook. For instance, if he is shown to


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   have flashed hand signals demeaning a rival gang, is that a conspiracy to murder?

   Similarly if he signed off a rap lyric with “42K” does that support a conspiracy to

   murder or is that protected speech. The instruction as given was vague and over

   broad.

            The instructions also did not require the jury to connecting Shy’s possession

   of a firearm with any particular crime of violence. In fact, shy possessed a firearm

   only when he was pulled over in a vehicle in West Virginia. No crime of violence

   was alleged by the Government during that event.



            WHEREFORE, Defendant (D-13) Shy moves this Honorable Court for a
   new trial.

                                            Respectfully submitted,
   Date: September 9, 2018


    By: s/Mark H. Magidson                    By: s/John T. Theis
    MARK H. MAGIDSON (P25581)                 JOHN T. THEIS
    Attorney for Defendant Shy (D-13)         Attorney for Defendant Shy (D-13)
    815 Griswold, Suite 810                   190 South LaSalle St., Suite 520
    Detroit, MI 48226                         Chicago, IL 60603
    313-963-4311                              (312) 782-1121
    313-995-9146 fax
    mmag100@aol.com




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                             CERTIFICATE OF SERVICE

        I certify that on September 9, 2018, I electronically filed the above Motion

  with the Clerk of the Court using the CM/ECF system, which will send notification

  of such filing to the parties of record.

                                             By: s/Mark H. Magidson
                                             MARK H. MAGIDSON (P25581)
                                             Attorney for Defendant Shy (D-13)




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